                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                      NO. 5:17-CR-67-FL-1
                                      NO. 5:20-CV-341-FL

DEVON WATERS,                                   )
                                                )
                            Petitioner,         )
                                                )
          v.                                    )                     ORDER
                                                )
UNITED STATES OF AMERICA,                       )
                                                )
                            Respondent.         )


       This matter is before the court on petitioner’s motion to vacate, set aside, or correct

sentence pursuant to 28 U.S.C. § 2255 (DE 98), which challenges petitioner’s conviction for

possessing a firearm in furtherance of a crime of violence in light of United States v. Davis, 139

S. Ct. 2319 (2019). The matter also is before the court on respondent’s motion to dismiss (DE

103), which was briefed fully. For the reasons that follow, the court grants respondent’s motion

to dismiss, and denies petitioner’s motion to vacate.

                                          BACKGROUND

       On November 14, 2017, petitioner pleaded guilty, pursuant to a written plea agreement, to

conspiracy to commit Hobbs Act robbery, in violation of 18 U.S.C. § 1951 (count one) and

discharging a firearm during and in relation to a crime of violence and aiding and abetting same,

in violation of 18 U.S.C. §§ 924(c) and 2 (count three). On May 24, 2018, the court sentenced

petitioner to 141 months’ imprisonment on count one, and a consecutive term of 120 months’

imprisonment on count three, producing an aggregate custodial sentence of 261 months.




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       On June 26, 2020, petitioner filed the instant motion to vacate, set aside, or correct

sentence, asserting that his § 924(c) conviction should be vacated in light of Davis. Respondent

filed the instant motion to dismiss on August 17, 2020, arguing petitioner’s motion to vacate should

be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(6). Petitioner responded in

opposition on September 30, 2020.

                                           DISCUSSION

A.     Standard of Review

       A petitioner seeking relief pursuant to 28 U.S.C. § 2255 must show that “the sentence was

imposed in violation of the Constitution or laws of the United States, or that the court was without

jurisdiction to impose such sentence, or that the sentence was in excess of the maximum authorized

by law, or is otherwise subject to collateral attack.” 28 U.S.C. § 2255(a). “Unless the motion

and the files and records of the case conclusively show that the prisoner is entitled to no relief, the

court shall . . . grant a prompt hearing thereon, determine the issues and make findings of fact and

conclusions of law with respect thereto.” Id. § 2255(b).

B.     Analysis

       Pursuant to 18 U.S.C. § 924(c), a person convicted of discharging a firearm “during and in

relation to any crime of violence or drug trafficking crime” is subject to a mandatory minimum

punishment of ten years’ imprisonment for the first conviction. 18 U.S.C. § 924(c)(1). The

sentence shall run consecutive to any sentence imposed for the predicate crime of violence or drug

trafficking crime. Id. § 924(c)(1)(A). Section 924(c)(3) defines crime of violence as an offense

that is a felony and:



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        (A) has as an element the use, attempted use, or threatened use of physical force
        against the person or property of another [the “force clause”], or

        (B) that by its nature, involves a substantial risk that physical force against the
        person or property of another may be used in the course of committing the offense
        [the “residual clause”].

Id. § 924(c)(3)(A)-(B).

        Davis held that § 924(c)(3)(B) is unconstitutionally vague, thereby rendering invalid

§ 924(c) convictions based on the residual clause definition of crime of violence. Davis, 139 S.

Ct. at 2336; see also United States v. Simms, 914 F.3d 229, 237 (4th Cir. 2019). The Davis and

Simms decisions, however, do not call into question the constitutionality of § 924(c)(3)(A). Thus,

if petitioner’s predicate offense qualifies as a crime of violence under subsection (c)(3)(A) (the

force clause), his conviction remains valid. See United States v. Mathis, 932 F.3d 242, 263-64

(4th Cir. 2019).

        Contrary to petitioner’s assertions, the predicate offense supporting his § 924(c) conviction

is substantive Hobbs Act robbery, not conspiracy to commit Hobbs Act robbery. Count three of

the indictment alleges that petitioner discharged a firearm “during and relation to a crime of

violence . . . that is, interference with commerce by robbery, in violation of Title 18, United States

Code, Section 1951, as charged in Count Two of the Indictment.” (DE 1 at 3). The United States

Court of Appeals for the Fourth Circuit has held that substantive Hobbs Act robbery constitutes a

crime of violence under § 924(c)’s force clause. See Mathis, 932 F.3d at 265-66. Accordingly,

petitioner’s § 924(c) conviction remains valid, notwithstanding Davis and Simms.1


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         Although count two ultimately was dismissed at sentencing, petitioner’s § 924(c) conviction does not require
conviction on the predicate crime of violence. See United States v. Carter, 300 F.3d 415, 425 (4th Cir. 2002); see
also United States v. Nelson, 27 F.3d 199, 200-01 (6th Cir. 1994) (collecting authority). Furthermore, although count
two alleged defendant committed both substantive and attempted Hobbs Act robbery, the § 924(c) conviction was
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C.      Certificate of Appealability

        Having determined that petitioner is not entitled to relief, the court turns to whether a

certificate of appealability should issue. A certificate of appealability may issue only upon a

“substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). The

petitioner must demonstrate that reasonable jurists could debate whether the issues presented

should have been decided differently or that they are adequate to deserve encouragement to

proceed further. Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003); Slack v. McDaniel, 529 U.S.

473, 483-84 (2000). After reviewing the claims presented on collateral review in light of the

applicable standard, the court finds that a certificate of appealability is not warranted.

                                              CONCLUSION

        Based on the foregoing, the court GRANTS respondent’s motion to dismiss (DE 103) and

DENIES petitioner’s motion to vacate (DE 98). A certificate of appealability is DENIED. The

clerk is directed to close the instant § 2255 proceedings.

        SO ORDERED, this the 4th day of November, 2020.


                                                   _____________________________
                                                   LOUISE W. FLANAGAN
                                                   United States District Judge




based solely on substantive Hobbs Act robbery. (See Indictment (DE 1) at 3; Plea Agreement (DE 47) ¶ 5).
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